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  IT IS ORDERED as set forth below:



      Date: January 5, 2022
                                                    _________________________________

                                                               Sage M. Sigler
                                                        U.S. Bankruptcy Court Judge

 ________________________________________________________________




                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 IN RE:                                            CASE NO. 19-53917-sms

 BARBARA JENNINGS,                                 CHAPTER: 13
           Debtor.
                                                   JUDGE: HONORABLE SAGE M.
 U.S. BANK NATIONAL ASSOCIATION, AS                SIGLER
 SUCCESSOR IN INTEREST TO BANK OF
 AMERICA NATIONAL ASSOCIATION,                     CONTESTED MATTER
 SUCCESSOR BY MERGER TO LASALLE
 BANK NATIONAL ASSOCIATION, AS
 TRUSTEE FOR GSAMP TRUST 2006-HE3,
 MORTGAGE PASS-THROUGH
 CERTIFICATES, SERIES 2006-HE3,

               Movant,

 v.

 BARBARA JENNINGS, Debtor
 K. EDWARD SAFIR, Trustee,
           Respondents.

             CONSENT ORDER ON MOTION FOR RELIEF FROM STAY (#43)
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          The above styled Motion filed September 22, 2021, (Docket No. 43) having been scheduled

for a hearing before the Court on November 16, 2021, upon Notice of Assignment of Hearing to

each of the above-captioned parties in interest, and it appearing to the Court that the parties consent

hereto:

          THE PARTIES AGREE that the post-petition arrearage through November 1, 2021,

totals $4,645.64, including four (4) payments of $851.91 each at (08/01/2021 – 11/01/2021),

$188.00 for a filing fee and $1,050.00 in reasonable attorney's fees.

          This arrearage shall be paid as follows:

          Movant acknowledges suspense funds in the amount of $708.36. The balance of
          $3,937.28 is to be paid through the plan. Movant shall be authorized to file a
          supplemental Post-Petition claim for this amount. Beginning December 1, 2021,
          Debtor shall resume timely remittance of the regular monthly mortgage payments.
          Payments should be sent to:

          PHH Mortgage Corporation
          One Mortgage Way
          Mail Stop: SBRP
          Mt. Laurel, NJ 08054

          or to such address as may be designated.


          IT IS HEREBY ORDERED that the Motion for Relief from Stay with respect to 3720

Montrose Pond Walk, Duluth, Georgia 30096 is DENIED, as the parties herein agree that the

interest of Movant is adequately protected by payment and performance as more particularly set

forth hereinafter. It is

          FURTHER ORDERED that should Debtor default in payment of any sum specified

herein, or in any regular monthly mortgage payments which come due according to Movant’s

Loan Documents for a period of one (1) year from the date of entry of this order, then upon

notice of default sent by first class mail to Debtor, attorney for Debtor and the Trustee, and
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failure of Debtor to cure such default within ten (10) days from the date of receipt of such notice,

Movant may file a motion and affidavit of default, with service upon Debtor, attorney for Debtor

and the Trustee. If no motion to convert case, motion to sell, response disputing the factual

allegations of the motion, or response alleging some extraordinary circumstances comparable to

those contemplated by Fed. R. Civ. P. 60(b) is filed within twenty (20) days from the date of

service of the motion and affidavit of default, the Court may enter an Order lifting the automatic

stay, without further notice or hearing. It is

        FURTHER ORDERED that in the event relief from the automatic stay is later granted,

the Trustee shall cease funding any balance of Movant’s claim, and the provisions of Fed. R.

Bank. P. 4001(a)(3) may be waived. It is

        FURTHER ORDERED that upon completion of any foreclosure sale, any funds in excess

of the amount due to Movant and to any subordinate lienholders properly entitled to receive

proceeds under applicable State Law that would otherwise be payable to the Debtor, shall be paid

to the Trustee for the benefit of the Estate while the Debtor remains in bankruptcy.

                                [END OF DOCUMENT]

CONSENTED TO BY:

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